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UNITED STATES OF AMERICA : —— moran —
: No. 11 Cr. 755 (JFK)
-~against-— : No. 20 Civ. 9097 (JER)
JOVANNY RODRIGUEZ, : ORDER
Defendant. :
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JOHN F. KEENAN, United States District Judge:

The Court, having concluded that Defendant Jovanny
Rodriguez’s motion brought under 28 U.S.C. § 2255 should not be
summarily dismissed as being without merit, hereby ORDERS that:

(1) Rodriguez’s request for additional time to file a
memorandum of law in support of his habeas petition is GRANTED.
Rodriguez shall have until January 4, 2021, to make such a
filing.

(2) The Clerk of Court shall electronically notify the
Criminal Division of the U.S. Attorney’s Office for the Southern
District of New York that this Order has been issued.

(3) Within sixty days of the date on which Rodriguez's
memorandum of law is electronically docketed, the U.5.
Attorney’s Office shall file an answer or other pleadings in
response to Rodriguez’s motion. Rodriguez shall have thirty
days from the date on which he is served with the Government’s
answer to file a response. Absent further order, the motion

will be considered fully submitted as of that date.

 
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(4) All further papers filed or submitted for filing must
include the criminal docket number and will be docketed in the
criminal case.

(5) Rodriguez’s renewed request for appointment of counsel
is DENIED.

(6) The Clerk of Court is respectfully directed to
terminate the motions at ECF No. 451 in docket 11 Cr. 755 (JFK)
and ECF No. 2 in docket 20 Civ. 9097 (JFK).

The Court will mail a copy of this Order to Rodriguez

today.
SO ORDERED.
Dated: New York, New York Phos fF Keen aty/

 

November 5, 2020 John F. Keenan
V nites States District Judge

 

 
